          Case 1:22-cv-00070-MAB Document 31            Filed 08/18/22     Page 1 of 33




             IN THE UNITED STATES COURT OF INTERNATIONAL TRADE



 NUCOR CORPORATION,

                              Plaintiff,

                       V.                                 Before: Hon. Mark A. Barnett,
                                                                  Chief Judge
 UNITED STATES,
                                                          Court No. 22-00070
                              Defendant,

                        and

 GOVERNMENT OF THE REPUBLIC
 OF KOREA,

                              Defendant-Intervenor.


                                              ORDER

          Upon consideration of Plaintiff Nucor Corporation's ("Nucor") Rule 56.2 motion for

judgment on the agency record, and all other pertinent papers and proceedings herein, it is hereby

          ORDERED, that Nucor's motion for judgment on the agency record is granted; and it is

further

          ORDERED, that this action is remanded to the U.S. Department of Commerce for

proceedings consistent with this Court's opinion.

          SO ORDERED.

                                                        Hon. Mark A. Barnett, Chief Judge

Dated:                                ,2022
            New York, New York
        Case 1:22-cv-00070-MAB Document 31              Filed 08/18/22    Page 2 of 33




           IN THE UNITED STATES COURT OF INTERNATIONAL TRADE



 NUCOR CORPORATION,

                            Plaintiff,

                      V.                                  Before: Hon. Mark A. Barnett,
                                                                  Chief Judge
 UNITED STATES,
                                                          Court No. 22-00070
                            Defendant,

                      and

 GOVERNMENT OF THE REPUBLIC
 OF KOREA,

                            Defendant-Intervenor.


   PLAINTIFF NUCOR CORPORATION'S RULE 56.2 MOTION FOR JUDGMENT
                      ON THE AGENCY RECORD

       Pursuant to Rule 56.2 of the Rules of the U.S. Court of International Trade, Nucor

Corporation ("Nucor"), plaintiff in this action, hereby moves for judgment upon the agency record

with respect to the final results in the administrative review of the countervailing duty order

covering Certain Carbon and Alloy Steel Cut-to-Length Plate from the &public cfKorea, 87 Fed.

Reg. 6,842 (Dep't Commerce Feb. 7, 2022) (final results and partial rescission of countervailing

duty admin. rev.; 2019), for the period of review of January 1, 2019 through December 31, 2019.

The final results were signed by the U.S. Department of Commerce ("Commerce") on January 31,

2022 and published in the Federal Register on February 7, 2022.        See Issues and Decision

Memorandum accompanying Certain Carbon and Alloy Steel Cut-to-Length Plate from the

Republic cf Korea, 87 Fed. Reg. 6,842 (Dep't Commerce Feb. 7, 2022) (final results and partial

rescission of countervailing duty admin. rev.; 2019).
          Case 1:22-cv-00070-MAB Document 31              Filed 08/18/22     Page 3 of 33

Ct. No. 22-00070


         For the reasons explained in the brief accompanying this motion, Nucor respectfully

  submits that Commerce's findings, conclusions, and determination with respect to the final results

  are not supported by substantial evidence or otherwise not in accordance with law. Nucor further

  moves that the Court remand these results to Commerce to correct the errors consistent with the

  Court's final opinion.

                                                      Respectfully submitted,

                                                      /s/ Alan H. Price
                                                      Alan H. Price, Esq.
                                                      Christopher B. Weld, Esq.
                                                      Adam M. Teslik, Esq.
                                                      Paul A. Devamithran, Esq.

                                                      W ILEY REIN LLP
                                                      2050 M Street, NW
                                                      Washington, DC 20036
                                                      (202) 719-7000

                                                      Counsel for Plaintj Nucor Cotporation
  Dated: August 17, 2022




                                                  2
       Case 1:22-cv-00070-MAB Document 31             Filed 08/18/22     Page 4 of 33

                                                                   NON-CONFIDENTIAL VERSION



          IN THE UNITED STATES COURT OF INTERNATIONAL TRADE



 NUCOR CORPORATION,

                          Plaintiff,

                    V.                                  Before: Hon. Mark A. Barnett,
                                                                 Chief Judge
 UNITED STATES,
                                                        Court No. 22-00070
                          Defendant,
                                                        NON-CONFIDENTIAL VERSION
                    and
                                                        Business Proprietary Information
 GOVERNMENT OF THE REPUBLIC                             Removed from Pages 7, 16-19, 21-22
 OF KOREA,

                          Defendant-Intervenors.


     PLAINTIFF NUCOR CORPORATION'S MEMORANDUM IN SUPPORT OF
         RULE 56.2 MOTION FOR JUDGMENT ON THE AGENCY RECORD



                                                   Alan H. Price, Esq.
                                                   Christopher B. Weld, Esq.
                                                   Adam M. Teslik, Esq.
                                                   Paul A. Devamithran, Esq.


                                                   W ILEY REIN LLP
                                                   2050 M Street, NW
                                                   Washington, DC 20036
                                                   (202) 719-7000


                                                   Counsel for PlaintiffNucor Cotporation
Dated: August 17, 2022
         Case 1:22-cv-00070-MAB Document 31                Filed 08/18/22    Page 5 of 33

Ct. No. 22-00070                                                        NON-CONFIDENTIAL VERSION



                                      TABLE OF CONTENTS

                                                                                            Page

  I.     INTRODUCTION                                                                          1

  II.    RULE 56.2 STATEMENT                                                                   1

         A.    Administrative Decision under Review                                            1

         B.        Issues Presented                                                            1

  III.   STATEMENT OF FACTS                                                                    2

         A.        Legal Framework                                                             2

         B.    Administrative Proceedings Below                                                5

  IV.    STANDARD OF REVIEW                                                                   10

  V.     ARGUMENT                                                                             12

         A.        Commerce's Finding that the GOK Does Not Subsidize the Korean
               Steel Industry through the Provision of Electricity for LTAR Was
               Unlawful                                                                       12

                   1.     Commerce Unlawfully Disregarded the Government Price to
                          the Respondents in Determining Whether aBenefit Exists              14

         B.        Commerce's Finding that the GOK Does Not Subsidize the Korean
                   Steel Industry through the Provision of Electricity for LTAR Was
               Unsupported by Substantial Evidence                                            18

                   1.     Record Evidence Demonstrates that the Korean Electricity
                          "Market" is Not Governed by Market Principles                       18

                   2.     Commerce Nevertheless Accepted Costs Tainted by the
                          GOK's Control of the Electricity Market                             21

                   3.     The Government Prices to the Respondents Did Not Reflect
                          the Cost of Production Plus an Amount for Profit                    22

  VI.    CONCLUSION                                                                          24




                                                   1
          Case 1:22-cv-00070-MAB Document 31                Filed 08/18/22   Page 6 of 33

Ct. No. 22-00070                                                        NON-CONFIDENTIAL VERSION



                                        TABLE OF AUTHORITIES
                                                                                            Page(s)

  Cases

  Asociacion Colombiana de Exportadores de Flores v. United States,
      13 CIT 13, 704 F. Supp. 1114 (1989)                                                        11

  Asociacion Colombiana de Exportadores de Flores v. United States,
      901 F.2d 1089 (Fed. Cir. 1990)                                                             11

  Burlington Truck Lines, Inc. v. United States,
      371 U.S. 156 (1962)                                                                        11

  Jiangsu Jiasheng Photovoltaic Tech. Co. v. United States,
      38 CIT 1632, 28 F. Supp. 3d 1317 (2014)                                                    11

  Matsushita Elec. Indus. Co. v. United States,
      750 F.2d 927 (Fed. Cir. 1984)                                                              11

  Micron Tech., Inc. v. United States,
     117 F.3d 1386 (Fed. Cir. 1997)                                                              11

  Mid Continent Nail Coy. v. United States,
     846 F.3d 1364 (Fed. Cir. 2017)                                                              11

  Motor Vehicle 11/Irs. Ass 'n v. State Farm Mut. Auto. Ins. Co.,
     463 U.S. 29 (1983)                                                                          11

  NIN Bearing Coy. v. United States,
    74 F.3d 1204 (Fed. Cir. 1995)                                                                11

  Nucor Coil,. v. United States,
     927 F.3d 1243 (Fed. Cir. 2019)                                                           3, 12

  SKF USA Inc. v. United States,
     263 F.3d 1369 (Fed. Cir. 2001)                                                              12

  Target Col p. v. United States,
     609 F.3d 1352 (Fed. Cir. 2010)                                                              11

  U.S. Steel Coil,. v. United States,
      33 CIT 1935 (2009)                                                                         17

  Statutes

  19 U.S.C. §1516a(b)(1)(B)(i)                                                                   10




                                                   11
         Case 1:22-cv-00070-MAB Document 31             Filed 08/18/22      Page 7 of 33

Ct. No. 22-00070                                                         NON-CONFIDENTIAL VERSION



  19 U.S.C. § 1677(5)(A)                                                                         2

  19 U.S.C. § 1677(5)(B)                                                                         2

  19 U.S.C. § 1677(5)(D)(iii)                                                                    2

  19 U.S.C. § 1677(5)(E)                                                                   2, 4, 17

  19 U.S.C. § 1677(5)(E)(iv)                                                                     2

  19 U.S.C. § 1677f-1(e)                                                                        12

  Regulations

  19 C.F.R. §351.503(b)(1)                                                                      13

  19 C.F.R. §351.511(a)(2)(i)                                                                3, 13

  19 C.F.R. §351.511(a)(2)(ii)                                                               3, 13

  19 C.F.R. §351.511(a)(2)(iii)                                                                  3

  19 C.F.R. §351.511(b)                                                                         13

  Administrative Materials

  Certain Carbon and Allay Steel Cut-to-Length Plate from the &public cf Korea,
     82 Fed. Reg. 16,341 (Dep't Commerce April 4, 2017)                                          5

  Certain Carbon and Allay Steel Cut-to-Length Plate from the &public cf Korea,
     82 Fed. Reg. 24,103 (Dep't Commerce May 25, 2017)                                           5

  Certain Cold-Rolled Steel Flat Products from the Russian Federation,
     81 Fed. Reg. 49,935 (Dep't Commerce July 29, 2016)                                         13

  Certain Oil Country Tubular Goods from the &public cf Korea,
     84 Fed. Reg. 24,085 (Dep't Commerce May 24, 2019)                                          19

  Certain Scftwood Lumber Products from Canada,
     66 Fed. Reg. 43,186 (Dep't Commerce Aug. 17, 2001)                                          4

  Circular Welded Carbon Quality Steel Line Pipe from the Pecple's &public cf
      China, 73 Fed. Reg. 70,961 (Dep't Commerce Nov. 24, 2008)                                 13

  Circular Welded Carbon Quality Steel Pipe from the Pecple's &public cf China,
     73 Fed. Reg. 31,966 (Dep't Commerce June 5, 2008)                                          16

  Coated Free Sheet Paper from Indonesia,
     72 Fed. Reg. 60,642 (Dep't Commerce Oct. 25, 2007)                                         13



                                                111
         Case 1:22-cv-00070-MAB Document 31              Filed 08/18/22    Page 8 of 33

Ct. No. 22-00070                                                      NON-CONFIDENTIAL VERSION



  Crystalline Silicon Photovoltaic Cells, Whether or Not Assembled Into Modules,
     from the Peal)le's &public cf China,
     83 Fed. Reg. 34,828 (Dep't Commerce July 13, 2018)                                        23

  Light-Walled Rectangular Pipe and Tube from the Pecple's &public cf China,
     73 Fed. Reg. 35,642 (Dep't Commerce June 24, 2008)                                        16

  Steel Concrete Reirforcing Bar from the &public cf Turkey,
     82 Fed. Reg. 23,188 (Dep't Commerce May 22, 2017)                                         14

  Stipercalendered Paper from Canada,
     80 Fed. Reg. 63,535 (Dep't Commerce Oct. 20, 2015)                                        14

  Other Authorities

  Redetermination Pursuant to Court Remand Order, POSCO v. United States,
     Consol. Ct. No. 17-00137 (Ct. Int'l Trade July 6, 2021)                       2, 3, 9, 12, 22

  Uruguay Round Agreements Act, Statement of Administrative Action, H.R. Doc.
     No. 103-316, vol. 1(1994), reprinted in 1994 U.S.C.C.A.N. 4040                         4, 17




                                                iv
          Case 1:22-cv-00070-MAB Document 31                 Filed 08/18/22      Page 9 of 33

Ct. No. 22-00070                                                            NON-CONFIDENTIAL VERSION



  I.     INTRODUCTION

         On behalf of Plaintiff, Nucor Corporation ("Nucor"), we hereby submit the following brief

  in support of Nucor's Rule 56.2 Motion for Judgment on the Agency Record.

  II.    RULE 56.2 STATEMENT

         A.      Administrative Decision under Review

         The administrative determination challenged herein is the U.S. Department of Commerce's

  ("Commerce") final results in the 2019 administrative review of the countervailing duty order on

  Certain Carbon and Alloy Steel Cut-to-Length Plate from the &public cf Korea, 87 Fed. Reg.

  6,842 (Dep 't Commerce Feb. 7, 2022) (final results and partial rescission of countervailing duty

  admin. rev.; 2019), P.R. 231 ("Final Results").

         B.        Issues Presented

                   1.    Whether Commerce's determination that the Government of Korea's
                         provision of electricity for less than adequate remuneration conferred
                         a non-measurable benefit was supported by substantial evidence or
                         otherwise in accordance with law.

         No. The Final Results are unsupported by substantial evidence and not in accordance with

  law because Commerce applied an unlawful methodology in determining whether abenefit was

  conferred by the Government of Korea's ("GOK") provision of electricity for less than adequate

  remuneration ("LTAR"), and the record evidence clearly confirmed that abenefit was conferred.

  At bottom, Commerce determined that no benefit was conferred by the GOK's provision of

  electricity for LTAR because the state-owned electric utility, the Korea Electric Power Corporation

  ("KEPCO"), was able to recover its overall costs to all customers in the relevant tariff class, despite

  the fact that it did not recover costs and a rate of return on the lower rates it charged to the

  respondents.   See Issues and Decision Memorandum accompanying Certain Carbon and Alloy

  Steel Cut-to-Length Plate from the &public cf Korea, 87 Fed. Reg. 6,842 (Dep 't Commerce Feb.




                                                     1
         Case 1:22-cv-00070-MAB Document 31                  Filed 08/18/22          Page 10 of 33

Ct. No. 22-00070                                                             NON-CONFIDENTIAL VERSION



  7, 2022) (final results and partial rescission of countervailing duty admin. rev.; 2019), P.R. 227 at

  21-26 ("Final Decision Memo"). As Commerce has previously recognized, abenefit is conferred

  "if the tariff charged to the respondent does not cover 'cost of production' plus a'profitable return

  on investment' ...." Final Results of Redetermination Pursuant to Ct. Remand, POSCO v. United

  States, Consol. Court No. 17-00137 (CIT March 16, 2021) (July 6, 2021) at 30 ("POSCO Remand

  Results") (emphasis added). Commerce's focus on the aggregate performance of the government

  supplier, rather than the prices actually paid by the respondents, was thus contrary to the agency's

  regulations, in addition to the statute and relevant judicial and agency precedents. Furthermore,

  record evidence overwhelmingly showed that abenefit was conferred.

  III.   STATEMENT OF FACTS

         A.        Legal Framework

         The statute defines acountervailable subsidy as "the case in which an authority ...
                                                                                           provides

  afinancial contribution ...to aperson and abenefit is thereby conferred," when the subsidy is

  "specific" to an industry or enterprise or group thereof. 19 U.S.C. §1677(5)(A)—(B). A "financial

  contribution"    includes   an   authority   "providing   goods   or   services,    other   than   general

  infrastructure," id. §1677(5)(D)(iii), in which case abenefit is conferred "if such goods or services

  are provided for less than adequate remuneration ...," id. §1677(5)(E)(iv). The statute provides

  that Commerce should determine the adequacy of remuneration "in relation to prevailing market

  conditions for the good or service being provided or the goods being purchased in the country

  which is subject to the investigation{,}" including "price, quality, availability, marketability,

  transportation, and other conditions of purchase or sale." Id. §1677(5)(E).

         Commerce's regulations establish a three-tier hierarchy for analyzing the adequacy of

  remuneration. First, Commerce "will normally seek to measure the adequacy of remuneration by




                                                     2
           Case 1:22-cv-00070-MAB Document 31              Filed 08/18/22     Page 11 of 33

Ct. No. 22-00070                                                          NON-CONFIDENTIAL VERSION



  comparing the government price to amarket-determined price for the good or service resulting

  from actual transactions in the country in question."    19 C.F.R. § 351.511(a)(2)(i).   If market-

  determined prices are unavailable in the country under consideration, Commerce applies a"tier-

  two" methodology that "seek {s} to measure the adequacy of remuneration by comparing the

  government price to aworld market price" that "would be available to purchasers in the country

  in question." id. §351.511(a)(2)(ii). When no such world market prices are available, Commerce

  uses a "tier-three" methodology that "measure {s} the adequacy of remuneration by assessing

  whether the government price is consistent with market principles." id. §351.511(a)(2)(iii).

           The U.S. Court of Appeals for the Federal Circuit has confirmed that Commerce's analysis,

  regardless of tier, must be directed at determining whether the government price reflects "the value

  of what is being sold." Nucor Coil,. v. United States, 927 F.3d 1243, 1252-53 (Fed. Cir. 2019).

  Because each regulatory "tier" exists to implement the same statutory standard, the court

           {saw} no sound basis for finding in {the tier-three rule} ameaning different from
           the common-sense one already written into the statute by Congress when the
           regulation was adopted. Indeed, that meaning fits the place of subparagraph (iii) in
           the regulatory provision as specifying the residual method of implementing the
           statutory standard when the two primary methods are unavailable. The above-
           stated meaning of "market principles" sensibly treats the three methods as all of a
           piece, because the two primary methods of implementing the statutory standard rely
           on competitive-market prices, which, as {the statute} and our cases indicate, are
           tied to "fair value."

  Id. at 1253 (emphasis added).     To that end, Commerce has recently clarified that its tier-three

  inquiry asks whether the government price reflects "'cost recovery' plus 'a return on investment

  or profit." POSCO Remand Results at 27. "{I} fthe tariff charged to the respondent does not

  cover 'cost of production' plus a'profitable return on the investment,' ...then the respondent has

  received acountervailable benefit under section 771(5)(E) of the {Tariff} Act {of 1930}." Id.

  at 30.




                                                    3
          Case 1:22-cv-00070-MAB Document 31               Filed 08/18/22      Page 12 of 33

Ct. No. 22-00070                                                          NON-CONFIDENTIAL VERSION



          The focus of the adequacy of remuneration analysis, regardless of the regulatory "tier"

  under which it proceeds, is thus the government price "to the respondent."         Id.   Indeed, the

  "fundamental basis for identifying and measuring subsidies under U.S. {countervailing duty}

  practice" is that "{a} benefit shall normally be treated as conferred where there is abenefit to the

  recipient {.} "   19 U.S.C.   § 1677(5)(E); Uruguay Round Agreements Act, Statement of

  Administrative Action, H.R. Doc. No. 103-316, vol. 1, at 927 (1994), reprinted in 1994

  U.S.C.C.A.N. 4040, 4240 ("SAA"). This has been expressly distinguished from benefit analyses

  based on the cost to the government of providing asubsidy. In Skftwood Lumber from Canada,

  for example, Commerce explained that

          {f} rom the perspective of the recipient of the subsidy, the true measure of the
          benefit derived from any government largesse is by reference to what the recipient
          would have had to pay for the physical or financial good or service in the
          marketplace, absent any government involvement. Thus, while one could argue
          that, from the government's perspective, remuneration could be considered
          "adequate" as long as it covers the costs to the government of providing the good
          or service, the cost-to-government standard is wholly inappropriate from the
          perspective of the private recipient. This is because the cost to the government does
          not necessarily measure the price at which the private recipient could have obtained
          the good or service in the marketplace free of government interference.

  Certain Skftwood Lumber Products from Canada, 66 Fed. Reg. 43,186, 43,193 (Dep 't Commerce

  Aug. 17, 2001) (prelim. affirmative countervailing duty deter., prelim. affirmative critical

  circumstances deter., and alignment of final countervailing duty deter. with antidumping duty

  deter.) (emphasis added); see also id. (noting that "the authority must {likewise} 'determine

  whether the financial contribution places the recipient in amore advantageous position than would

  have been the case" (emphasis added)).

          This appeal addresses Commerce's application of the "tier-three" methodology to the

  Korean government's provision of electricity to certain Korean steel producers.




                                                   4
         Case 1:22-cv-00070-MAB Document 31               Filed 08/18/22   Page 13 of 33

Ct. No. 22-00070                                                       NON-CONFIDENTIAL VERSION



         B.      Administrative Proceedings Below

         On April 4, 2017 Commerce published its final determination in the countervailing duty


  investigation of Certain Carbon and Alloy Steel Cut-to-Length Plate from the &public cf Korea,


  82 Fed. Reg. 16,341 (Dep't Commerce April 4, 2017) (final affirmative countervailing duty deter.

  and final negative critical circumstances deter.).   On May 25, 2017, Commerce published the


  countervailing duty order in the Federal Register. Certain Carbon and Alloy Steel Cut-to-Length


  Plate from the &public cf Korea, 82 Fed. Reg. 24,103 (Dep't Commerce May 25, 2017)


  (countervailing duty order).    Commerce initiated the administrative review subject to this

  Complaint on July 10, 2020, covering the period of review ("POR") of January 1, 2019 to


  December 31, 2019. Initiation cfAntidumping and Countervailing Duty Administrative Reviews,

  85 Fed. Reg. 41,540 (Dep't Commerce July 10, 2020), P.R. 20.


         On November 19, 2020, Petitioner Nucor timely filed new subsidy allegations. Letter from


  Wiley Rein LLP to Sec'y of Commerce, re: Certain Carbon and Alloy Steel Cut-to-Length Plate

 from the &public cf Korea: New Subsidy Allegations (Nov. 19, 2020), P.R. 68-84, C.R. 177-193


  ("Petitioner's New Subsidy Allegation"). In relevant part, Nucor alleged that the GOK provided

  countervailable subsidies to the steel industry in the form of electricity for LTAR.   Commerce

  initiated areview of the alleged subsidy on April 13, 2021. Memorandum from Faris Montgomery


  to Irene Darzenta Tzafolias, re: Countervailing Duty Administrative Review cf Certain Carbon


  and Alloy Steel Cut-to-Length Plate from the &public cf Korea: Decision Memorandum on New

  Subsidy Allegations (Apr. 13, 2021), P.R. 105.


         Commerce issued supplemental questionnaires regarding the subsidy allegation to the GOK


  and to mandatory respondent POSCO, both of whom provided responses on April 27, 2021. Letter


  from Morris, Manning & Martin, LLP to Sec'y of Commerce, re: Certain Carbon and Alloy Steel




                                                   5
          Case 1:22-cv-00070-MAB Document 31               Filed 08/18/22      Page 14 of 33

Ct. No. 22-00070                                                           NON-CONFIDENTIAL VERSION



  Cut-to-Length Plate from the Republic of Korea, Case No. C-580-888: POSCO 's Electricity New

  Subsidy Allegation Questionnaire Response (Apr. 27, 2021), P.R. 117, C.R. 235-244 ("POSCO

  NSA QR"); Letter from Lee & Ko LLC to Sec'y of Commerce, re: Administrative Review cf the

  Countervailing Duty Order on Certain Carbon and Alloy Steel Cut-to-Length Plate from the

  &public cf Korea: Response to New Subsidy Allegation Questionnaire (Apr. 27, 2021), P.R. 115,

  C.R. 229-234 ("GOK NSA QR").

          In its questionnaire response, the GOK described the structure of the Korean electricity

  market and the operations of the state-owned electric utility, KEPCO. It explained that "KEPCO

  is the exclusive supplier of electricity in Korea{,}" but that "KEPCO itself does not generate

  electricity."   GOK NSA QR at 4-5.      Instead, KEPCO "purchases electricity from generators"

  through amarket called the Korea Power Exchange ("KPX") "and transmits and distributes {the

  electricity} to customers." Id. at 5. The GOK provided information showing that most electricity

  is generated by six generators that are wholly-owned and consolidated KEPCO subsidiaries, and

  that the KPX, in turn, is wholly owned by KEPCO and its six generation subsidiaries. Id. at 3-4,

  Exhibit E-2, p. 31.    The GOK further explained that the price at which KEPCO purchases

  electricity from generators through the KPX is determined by aformula consisting of avariable

  cost component, afixed cost component, and an "adjusted coefficient factor," which "prevent {s}

  KEPCO's overpayment" to certain types of generators. Id. at 31. Each of these elements of the

  electricity price is determined by a"Cost Evaluation Committee" within the KPX and not by the

  generators themselves. Id. at Exhibit E-2.

          The GOK also provided "KEPCO's 2019 cost data for supplying electricity." Id. at 16,

  Exhibit E-18. It explained that these costs "include {d} the payment for the purchase of electricity,

  labor costs, grid maintenance fee" and various taxes and fees that were "not related to the sales of




                                                    6
         Case 1:22-cv-00070-MAB Document 31                Filed 08/18/22     Page 15 of 33
                             BUSINESS PROPRIETARY INFORMATION
Ct. No. 22-00070                      HAS BEEN DELETED                    NON-CONFIDENTIAL VERSION



  electricity ...."    Id.   With regard to sales prices, the GOK explained that the mandatory

  respondents paid for electricity based on industrial electricity prices in a generally applicable

  electricity tariff schedule with different prices for on-peak, mid-peak, and off-peak demand periods.

  Id. at 14-15, Exhibit E-10.    POSCO reported the monthly volume and value of its electricity

  consumption during each of these demand periods. POSCO NSA QR at Exhibit NSA-2.

         Commenting on the GOK' squestionnaire responses, Nucor pointed out that Commerce

  could not simply rely on the cost data provided by the GOK as representative of market-based

  costs. To begin with, KEPCO's cost data represented only KEPCO's cost of purchasing electricity

  from generators through the KPX market and did not reflect the actual costs of generating

  electricity. Letter from Wiley Rein LLP to Sec'y of Commerce, re: Certain Carbon and Alloy

  Steel Cut-to-Length Plate from the &public cf Korea: Comments and Rebuttal Factual

  Irformation on New Subsidy Allegation Questionnaire Responses (May 11,2021), P.R. 129-138,

  C.R. 256-265, at 3("Nucor's May 11,2021 Comments"). Moreover, Nucor noted that the largest

  electricity generation companies are wholly owned subsidiaries of KEPCO and "neither KEPCO

  nor three of its {generating companies} recovered their costs nor tuned aprofit during the POR."

  Id. at 6. As aresult, it is insufficient to rely on GOK "data that only reflects the amount that

  {KEPCO} [

          ]GOK entities" because "{t} his does not accurately reflect the true costs of generating

  and supplying electricity to users ...." Id. at 3. Nucor also noted that each element of the formula

  on which KEPCO's acquisition price is based was assigned by the KPX Cost Evaluation

  Committee and not determined by the generators themselves. Id. at 9. Nucor asked Commerce to

  collect additional information to address these and other related issues in the GOK' squestionnaire




                                                   7
         Case 1:22-cv-00070-MAB Document 31                Filed 08/18/22     Page 16 of 33

Ct. No. 22-00070                                                          NON-CONFIDENTIAL VERSION



  responses. But Commerce elected not to collect additional information regarding the actual costs

  of electricity generation or the cost assignments of the KPX Cost Evaluation Committee.

         Commerce issued the preliminary results of the administrative review on July 30, 2021 and

  published them in the Federal Register on August 5, 2021. Preliminary Decision Memorandum

  accompanying Certain Carbon and Alloy Steel Cut-to-Length Plate from the &public cf Korea,

  86 Fed. Reg. 42,788 (Dep't Commerce Aug. 5, 2021) (prelim. results of countervailing duty admin.

  rev., and intent to rescind rev., in part, 2019), P.R. 179 ("Prelim. Memo"). Applying a"Tier 3"

  benefit methodology, Commerce preliminarily determined that KEPCO supplied electricity to the

  mandatory respondents for LTAR under certain tariff classes, but it calculated anon-measurable

  benefit amount. Id. at 27-32.

         With respect to the price at which KEPCO purchased electricity through the KPX,

  Commerce reasoned that, in prior administrative reviews, it had "examined KPX, in the context of

  an upstream subsidy allegation," and found there was no benefit conferred by "KPX's prices of

  the {generation companies' }electricity to KEPCO ...." id. at 30. It also found that "the GOK

  provided financial statements for the {generation companies}" and determined "that each of the

  six {generation companies} recovered its costs." Id. With respect to the prices at which KEPCO

  sold electricity to end users, including the respondents, Commerce "preliminarily determine {d}

  that KEPCO does have apricing mechanism in place that is based on market principles, but also

  that the industrial rates did not always recover costs and arate of return ...." Id. at 32. For this

  analysis, Commerce relied on KEPCO's overall cost recovery rates and found that abenefit exists

  on sales under aspecific tariff class to the extent that KEPCO did not cover its costs, inclusive of

  areturn on investment, on sales to all customers in that tariff class. See, e.g., Memorandum from

  Faris Montgomery, to The File, re: Countervailing Duty Administrative Review cf Certain Carbon




                                                   8
         Case 1:22-cv-00070-MAB Document 31                Filed 08/18/22     Page 17 of 33

Ct. No. 22-00070                                                          NON-CONFIDENTIAL VERSION



  and Alloy Steel Cut-to-Length Plate from the Republic cf Korea: Preliminary Results Calculation

  Memorandum for POSCO (July 30,2021), P.R. 180-181, C.R. 323-324, at 9("POSCO Prelim.

  Analysis Memo").

         Nucor filed its case brief on December 15,2021, arguing that Commerce's methodology

  for determining the benefit conferred by the GOK' s provision of electricity for LTAR was

  improper and should be modified for the final determination. Letter from Wiley Rein LLP to Sec'y

  of Commerce, re: Certain Carbon and Alloy Steel Cut-to-Length Platefrom the &public cfKorea:

  Case Brief (Dec. 15,2021), P.R. 221, C.R. 360.

         As athreshold matter, Nucor noted the evidentiary flaws with the cost data on which

  Commerce relied and argued that it was improper to presume that the data reflected market-based

  costs. id. Because the record was closed and Commerce had decided to rely on KEPCO's cost

  data as reported by the GOK, however, Nucor demonstrated that this data nevertheless showed

  that abenefit was conferred.    Additionally, Nucor highlighted that the tier-three standard for

  electricity programs, as previously articulated by Commerce, is that abenefit is conferred "if the

  tariff charged to the respondent does not cover 'cost of production' plus a 'profitable return on

  investment' ... ." id. at 4(quoting POSCO Remand Results at 30). Consequently, Nucor argued

  that Commerce erred by finding that no benefit was conferred under aparticular tariff class when

  KEPCO covered its costs (inclusive of investment return) on all sales to all customers in the

  aggregate. Id. at 9-12. Nucor argued that basing the benefit analysis on the aggregate performance

  of the government supplier, rather than on the prices actually paid by the respondents under review,

  was contrary to the statute, Commerce regulations, and clearly articulated court and agency

  precedents. Id. at 11-12.




                                                   9
         Case 1:22-cv-00070-MAB Document 31                Filed 08/18/22     Page 18 of 33

Ct. No. 22-00070                                                          NON-CONFIDENTIAL VERSION



         Commerce issued the final results on January 31, 2022 and published them in the Federal

  Register on February 7, 2022.    See generally Final Decision Memo.       Commerce continued to

  determine that the provision of electricity for LTAR conferred anon-measurable benefit based on

  KEPCO's costs and revenues in the aggregate under the relevant tariff classes.        Id. at 21-26.

  Commerce reasoned that Nucor's arguments were "inapposite to atier-three analysis{,}" and that

  "an evaluation of the government supplier's income and costs and whether the income covers costs

  and profit ...has consistently been part of our analysis when assessing whether KEPCO's pricing

  is consistent with market principles and has been found to be within the bounds of what {the

  regulation} proposes." Id. at 23. According to Commerce, its "tier-three methodology has been

  to first determine whether the prices are market-based. Where prices are set in accordance with

  market principles and, thus, at fair value, we determine no benefit is conferred; where they are not

  market-based (i.e., they have not recovered costs plus profit), we determine aprice that would be

  market-based and compare that to what was actually paid using a benchmark."              Id. at 25.

  Commerce determined that the KEPCO cost data as reported by the GOK reflected market prices

  because "the wholesale and retail pricing is based on price-setting methodologies that aim to

  ensure companies in the chain are able to cover their costs, as well as arate of profit." Id. at 24-

  25.

         Based in part on the determination that no measurable benefit was conferred by the

  provision of electricity for LTAR, Commerce calculated final subsidy rates of 0.42%, or de

  minimis, for POSCO. Final Results, 87 Fed. Reg. at 6,843. This appeal followed.

  IV.    STANDARD OF REVIEW

         The Court "shall hold unlawful" Commerce's determination if it is "unsupported by

  substantial evidence on the record, or otherwise not in accordance with law." 19 U.S.C.




                                                  10
            Case 1:22-cv-00070-MAB Document 31               Filed 08/18/22     Page 19 of 33

Ct. No. 22-00070                                                            NON-CONFIDENTIAL VERSION



  § 1516a(b)(1)(B)(i); accord Micron Tech., Inc. v. United States, 117 F.3d 1386, 1393 (Fed. Cir.


  1997).

            Substantial evidence is "more than amere scintilla{;} {i}t means such relevant evidence


  as areasonable mind might accept as adequate to support aconclusion." Matsushita Elec. Indus.


  Co. v. United States, 750 F.2d 927, 933 (Fed. Cir. 1984) (quotations omitted). "Speculation is not


  {substantial evidence in} support for afinding ...." Asociacion Colombiana de Exportadores de


  Flores v. United States, 13 CIT 13, 15, 704 F. Supp. 1114, 1117 (1989),      f'd, 901 F.2d 1089 (Fed.

  Cir. 1990). In determining whether Commerce's conclusions are based on substantial evidence,

  the Court must consider "the record as awhole, including {any evidence} which fairly detracts


  from {the} weight" of Commerce's conclusions. Target Col p. v. United States, 609 F.3d 1352,


  1358 (Fed. Cir. 2010) (quotation omitted).       Moreover, for a determination to be supported by

  substantial evidence, there must be a rational connection between the facts on the record and


  Commerce's determination. See Burlington Truck Lines, Inc. v. United States, 371 U.S. 156, 168

  (1962).    If the Court finds that Commerce's determination was not supported by substantial


  evidence, it must remand the case to the agency for reconsideration.


            Commerce also acts unlawfully where it abuses its discretion or acts arbitrarily. See, e.g.,


  Mid Continent Nail Coy. v. United States, 846 F.3d 1364, 1372 (Fed. Cir. 2017); NTN Bearing

  Coil,. v. United States, 74 F.3d 1204, 1207-08 (Fed. Cir. 1995). "An abuse of discretion occurs


  where the decision is based on an erroneous interpretation of the law, on factual findings that are


  not supported by substantial evidence, or represent an unreasonable judgment in weighing relevant

  factors." Jiangsu Jiasheng Photovoltaic Tech. Co. v. United States, 38 CIT 1632, 1634, 28 F.


  Supp. 3d 1317, 1323 (2014) (quotation omitted).         And the obligation to avoid arbitrary action

  requires Commerce to engage in reasoned and evenhanded decision-making.              See, e.g., Motor




                                                     11
         Case 1:22-cv-00070-MAB Document 31               Filed 08/18/22     Page 20 of 33

Ct. No. 22-00070                                                         NON-CONFIDENTIAL VERSION



  Vehicle llzfrs. Ass 'n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) ("{T}he agency

  must examine the relevant data and articulate asatisfactory explanation for its action including a

  rational connection between the facts found and the choice made." (quotation omitted)); SKF USA

  Inc. v. United States, 263 F.3d 1369, 1382 (Fed. Cir. 2001) (" {A{ nagency action is arbitrary when

  the agency offers insufficient reasons for treating similar situations differently." (quotation

  omitted)).

  V.     ARGUMENT

         A.        Commerce's Finding that the GOK Does Not Subsidize the Korean Steel
                   Industry through the Provision of Electricity for LTAR Was Unlawful

         As noted above, under the tier three benefit regulation, "if the tariff charged to the

  respondent does not cover 'cost of production' plus a'profitable return on the investment,' ...then

  the respondent has received acountervailable benefit under section 771(5)(E) of the {Tariff} Act

  {of 1930} ." POSCO Remand Results at 30 (emphasis added). Thus, as with tier one and tier two

  adequate remuneration analyses, Commerce must determine whether the respondent has received

  abenefit because the government's price to the respondent is for LTAR. Commerce may not, as

  the agency suggests, Final Decision Memo at 22, depart from this fundamental principle simply

  because it is conducting atier three benefit analysis. See Nucor, 927 F.3d at 1253 (explaining that

  "{t}he above-stated meaning of 'market principles' sensibly treats the three methods as all of a

  piece ....").

         The statute requires Commerce to "determine an individual countervailable subsidy rate

  for each known exporter or producer of the subject merchandise," or, if it is not practicable to do

  so, to "determine individual countervailable subsidy rates" for a representative selection of

  exporters or producers. 19 U.S.C. §1677f-1(e) (emphasis added). The general rule regarding the

  benefit conferred by subsidies provides that "the Secretary normally will consider abenefit to be




                                                  12
         Case 1:22-cv-00070-MAB Document 31               Filed 08/18/22     Page 21 of 33

Ct. No. 22-00070                                                         NON-CONFIDENTIAL VERSION



  conferred where afirm pays less for its inputs ...than it otherwise would pay ...." 19 C.F.R.

  §351.503(b)(1) (emphasis added).     Commerce's adequate remuneration rule provides that the

  agency should "consider abenefit as having been received as of the date on which the firm pays

  or, in the absence of payment, was due to pay for the government-provided good or service." Id.

  §351.511(b) (emphasis added). There is no dispute that "the government price" for the purpose

  of tiers one and two refers to the government price paid by the respondent.                See id.

  §351.511(a)(2)(i)—(ii).

         To this end, Commerce's countervailing duty questionnaire in LTAR investigations asks

  respondents to report the volume and value of their company-specific input purchases, as it did for

  electricity here. See, e.g., POSCO NSA QR at 2. The agency uses this information to determine

  whether a benefit has been conferred and to what extent.          See, e.g., Issues and Decision

  Memorandum accompanying Circular Welded Carbon Quality Steel Line Pipe from the Pecple's

  Republic cf China, 73 Fed. Reg. 70,961 (Dep't Commerce Nov. 24, 2008) (final affirmative

  countervailing duty deter.) at 20 ("We then compared the benchmark unit prices to the unit prices

  the respondents paid to domestic suppliers of {hot-rolled steel}          during the   {period of

  investigation} that {Commerce} determines constitute government authorities."); Issues and

  Decision Memorandum accompanying Coated Free Sheet Paper from Indonesia, 72 Fed. Reg.

  60,642 (Dep't Commerce Oct. 25, 2007) (final affirmative countervailing duty deter.) at 23

  ("{Commerce} has determined that using the ...fees actually paid is more appropriate for

  measuring the adequacy of remuneration. As such, we have summed the ...fees actually paid by

  the forestry companies ...and compared this amount to the market-based stumpage fees the ...

  forestry companies should have paid during the {period of investigation} ."); Issues and Decision

  Memorandum accompanying Certain Cold-Rolled Steel Flat Products from the Russian




                                                  13
         Case 1:22-cv-00070-MAB Document 31                  Filed 08/18/22      Page 22 of 33

Ct. No. 22-00070                                                             NON-CONFIDENTIAL VERSION



  Federation, 81 Fed. Reg. 49,935 (Dep't Commerce July 29, 2016) (final affirmative countervailing

  duty deter. and final negative critical circumstances deter.) at 19 ("{W} e compared the

  corresponding monthly benchmark unit prices to the unit prices that the NLMK companies paid

  Gazprom ...during the {period of investigation} ."); Issues and Decision Memorandum

  accompanying Steel Concrete Reirforcing Bar from the Republic cf Turkey, 82 Fed. Reg. 23,188

  (Dep't Commerce May 22, 2017) (final affirmative countervailing duty deter.) at 12 ("{W} e

  compared the benchmark per-unit delivered price to the per-unit delivered price Habas actually

  paid BOTAS for natural gas during the {period of investigation} ."); Issues and Decision

  Memorandum accompanying Supercalendered Paper from Canada, 80 Fed. Reg. 63,535 (Dep't

  Commerce Oct. 20, 2015) (final affirmative countervailing duty deter.) at 48.

          The statute, the regulation, and Commerce's practice thus confirm that the basis of the

  LTAR benefit analysis is the price actually paid by the respondent to the government supplier for

  the input under consideration. Beyond nebulous references to apurportedly "well-established"

  practice, Final Decision Memo at 21-22, the final results articulate no legal or methodological

  justification for treating "the government price" in this case as the unit revenues earned by the

  Korean government supplier on all sales to all firms.

                   1.     Commerce Unlawfully Disregarded the Government Price to the
                          Respondents in Determining Whether aBenefit Exists

         Here, Commerce's analysis ignored the prices paid by the respondents to the government

  supplier in determining whether abenefit exists. Instead, Commerce considered whether KEPCO

  covered its costs based on its unit revenues on all sales to all consumers in the relevant tariff class.

  Commerce determined that the Korean government's provision of electricity conferred no benefit

  to relevant classes by first considering whether KEPCO's generation subsidiaries were profitable

  on their aggregate operations, including but not limited to electricity sales, and then considering



                                                     14
         Case 1:22-cv-00070-MAB Document 31               Filed 08/18/22     Page 23 of 33

Ct. No. 22-00070                                                         NON-CONFIDENTIAL VERSION



  KEPCO's unit revenues on all sales compared to its total unit costs, based on purchases through

  the KPX.   See Prelim. Memo at 26-32; see also Final Decision Memo at 17.         With respect to

  KEPCO, Commerce found that abenefit exists under aspecific tariff rate only to the extent that

  KEPCO's total revenue on sales to all customers under that tariff rate did not recover 100% of

  KEPCO's reported cost of supply. Prelim. Memo at 32; see also Final Decision Memo at 21-25

  (upholding methodology applied in the Preliminary Results).

         The agency's insistence that it is "required to assess the extent to which the price charged

  by the government is consistent with market principles" is irrelevant to its actual analysis. Final

  Decision Memo at 23. As the agency itself explains, it did not base its benefit determination on

  "the price charged by the government," but on KEPCO's "income and costs and whether the

  income covers costs and profit ...." Id. Here, the government prices for electricity were set forth

  in KEPCO's electricity pricing schedule. GOK NSA QR at Exhibit E-10. The prices that POSCO

  actually paid KEPCO for electricity pursuant to this pricing schedule were reported in the

  company's NSA questionnaire response.        POSCO NSA QR at Exhibit NSA-2. This source

  demonstrates that KEPCO charged, and the respondent paid, three different prices under each of

  the relevant electricity tariff classes — an "off-peak" price, a"mid-peak" price, and an "on-peak"

  price. GOK NSA QR at Exhibit E-10; POSCO NSA QR at Exhibit NSA-2.

         The information that Commerce used to determine whether the respondents received a

  benefit, however, was KEPCO's "cost by classification data," reflecting KEPCO's total cost of

  sales and total sales income. GOK NSA QR at 35, Exhibit E-18. The "unit sales price" in this

  data, on which Commerce based its analysis, reflects KEPCO's actual revenues on all sales to all

  customers under the respective tariff class. It is not "the price charged by the government." Final

  Decision Memo at 23.




                                                  15
          Case 1:22-cv-00070-MAB Document 31                 Filed 08/18/22     Page 24 of 33

                             BUSINESS PROPRIETARY INFORMATION
Ct. No. 22-00070                      HAS BEEN DELETED                       NON-CONFIDENTIAL VERSION



          For example, POSCO reported purchasing electricity for steel production from KEPCO

  under the [                                                           ].   See POSCO NSA QR at

  Exhibit NSA-2. KEPCO's pricing schedule lists seasonal prices for [                              ]of

  (i) KRW 53.7/kWh to KRW 60.6/kWh for off-peak prices, (ii) KRW 76.60/kWh to KRW

  106.6/kWh for mid-peak prices, and (iii) KRW 107.00/kWh to KRW 187.50/kWh for on-peak

  prices. GOK NSA QR at Exhibit E-10 (General and Industrial Service (B)). These are [

                                                              ]during the POR. POSCO NSA QR at

  Exhibit NSA-2. The unit revenue at which Commerce determined that KEPCO covered its cost

  of supply under the [                                                         ]tariff class, however,

  was [                   ]. See GOK NSA QR at Exhibit E-18; POSCO Prelim. Analysis Memo at

  8-9.   This number appears nowhere in either KEPCO's price schedule or in the respondents'

  reported electricity purchase data because it is not "the price charged by the government." It is, in

  fact, not agovernment price at all. It reflects the government's total annual sales revenue and thus

  its overall financial performance for the respective tariff class.

          Both Commerce and the courts have explained that the government supplier's overall

  financial performance is irrelevant to an adequate remuneration benchmark analysis. In Circular

  Welded Carbon Quality Steel Pipe from the Pecple's &public cf China, for example, Commerce

  explained that "the profitability of Chinese {hot-rolled steel} producers is not relevant to the

  determination of whether {hot-rolled steel} was sold for LTAR."                Issues and Decision

  Memorandum accompanying Circular Welded Carbon Quality Steel Pipe from the Pecple's

  Republic cf China, 73 Fed. Reg. 31,966 (Dep't Commerce June 5, 2008) (final affirmative

  countervailing duty deter. and final affirmative deter. of critical circumstances) at 65; see also

  Issues and Decision Memorandum accompanying Light-Walled Rectangular Pipe and Tube from




                                                    16
         Case 1:22-cv-00070-MAB Document 31                   Filed 08/18/22      Page 25 of 33

                             BUSINESS PROPRIETARY INFORMATION
Ct. No. 22-00070                      HAS BEEN DELETED                       NON-CONFIDENTIAL VERSION



  the Pecple's Republic cf China, 73 Fed. Reg. 35,642 (Dep't Commerce June 24, 2008) (final

  affirmative countervailing duty investigation deter.) at 36 (" {T }he profitability of SOE {hot-rolled

  steel} producers ...is not relevant to the determination of whether {hot-rolled steel} was sold for

  LTAR."). This Court has likewise rejected arguments that an adequate remuneration analysis turns

  on the broader financial performance of the government supplier. U.S. Steel Cot p. v. United States,

  33 CIT 1935, 1944 n.10 (2009) ("The overall profitability of the NMDC does not demonstrate that

  its prices to Essar are market-based.").

          Determining whether abenefit exists based on the government supplier's revenue from sales

  to all customers rather than based on the prices actually paid by the respondents also contravenes the

  "fundamental basis for identifying and measuring subsidies under U.S. {countervailing duty}

  practice ...." SAA at 927, 1994 U.S.C.C.A.N. at 4240. Under the statute and Commerce's practice,

  "{a} benefit shall normally be treated as conferred where there is abenefit to the recipient ...."

  19 U.S.C. §1677(5)(E) (emphasis added). That KEPCO may cover its costs plus areasonable rate

  of return on all sales under aparticular electricity tariff rate would mean only that there is no cost to

  the GOK from providing the subsidy because it is able to recoup losses on sales to some customers

  with excess returns on sales to other customers. Such afinding says nothing about the benefit to the

  recipient of the subsidy, the statutory focus of the inquiry.        Commerce's methodology gives

  governments carte blanche to engage in harmful cross-subsidization while depriving domestic

  industries of the relief to which they are entitled under the countervailing duty laws.

          That is the result of commerce's methodology here, and it is reflected in the benchmark

  prices that the agency calculated for the tariff rates in which it did find that anon-measurable

  benefit was conferred. Comparing KEPCO's total unit revenues to its total unit costs, Commerce

  determined that abenefit existed under certain [                 ]electricity rates because KEPCO 's




                                                     17
         Case 1:22-cv-00070-MAB Document 31                Filed 08/18/22    Page 26 of 33
                            BUSINESS PROPRIETARY INFORMATION
Ct. No. 22-00070                     HAS BEEN DELETED                    NON-CONFIDENTIAL VERSION



  total cost recovery rate was [                   ].   See POSCO Prelim. Analysis Memo at 9.

  Commerce then calculated abenchmark price by adjusting the prices that the respondents actually

  paid by the amount of the shortfall in KEPCO's overall cost recovery.       Id.   The outcome was

  benchmark prices as low as [                   ], or [      ]less than KEPCO's cost of supply for

  the relevant tariff class. See GOK NSA QR at Exhibit E-18; POSCO Prelim. Analysis Memo at

  Attachment II ([                               ]tab). This is an absurd outcome that unlawfully

  washes away benefits to a respondent based on government revenues on sales to users and

  industries that are not under consideration in the proceeding.

         B.        Commerce's Finding that the GOK Does Not Subsidize the Korean Steel
                   Industry through the Provision of Electricity for LTAR Was Unsupported by
                   Substantial Evidence

         Even under Commerce's reading of the tier three methodology, the inquiry at least asks

  whether government prices are in line with market principles. See Final Decision Memo at 22. If

  yes, then Commerce determines no benefit is conferred.           See id.   If no, then Commerce

  "determine {s} abenchmark that would be in line with market principles (i.e., aprice that covers

  costs plus a rate of recovery or profit), with the difference between the price paid and the

  benchmark being the benefit conferred." Id. Here, in finding that some electricity prices were in

  line with market principles and thus conferred no benefit, Commerce accepted pricing data from

  the GOK and assumed those data were representative of market prices. Based on the structure of

  the Korean electricity "market," however, that assumption was not supported by record evidence.

                   1.    Record Evidence Demonstrates that the Korean Electricity "Market"
                         is Not Governed by Market Principles

         Government control over energy markets, and over the electricity market in particular, has

  been a key element of the GOK's policy to support the international competitiveness of key

  industries like steel. The Korean economy is one of the world's most energy intensive, despite




                                                   18
         Case 1:22-cv-00070-MAB Document 31               Filed 08/18/22     Page 27 of 33

                           BUSINESS PROPRIETARY INFORMATION
Ct. No. 22-00070                    HAS BEEN DELETED                    NON-CONFIDENTIAL VERSION



  relying overwhelmingly on imports of energy resources.      Despite the lack of domestic energy

  resources, the country's electricity prices remain far lower than electricity prices in other

  economically developed countries. Petitioner's New Subsidy Allegation at Exhibit 1. This would

  be impossible without the GOK's strict control over both retail and wholesale prices. See id. at

  Exhibit 2 (explaining that KEPCO may not change its electricity prices to account for cost

  fluctuations).

          The electricity "market" in Korea is a government-owned, -operated, and -directed

  monopoly.    Although the Korean electricity market is divided between awholesale and retail

  market, the GOK owns and controls the primary entities in both markets. Indeed, the GOK does

  not just regulate an otherwise market-oriented electricity market. Rather, the GOK has established

  agovernment-controlled monopoly in the Korean electricity market through KEPCO, whose six

  wholly-owned subsidiary generators generate over [       ]of the electricity in Korea, and through

  KPX, which is wholly-owned by KEPCO and its generation subsidiaries, and which operates the

  only channel through which electricity may be sold. GOK NSA QR at 3-5.

          KEPCO transmits or distributes [       ]of electricity in Korea. Id. at 5. Consequently,

  Commerce has previously explained that "{t} he GOK has tight control over the electricity market,

  including supply and pricing" and "electricity in Korea functions as atool of the government's

  industrial policy." See Issues and Decision Memorandum accompanying Certain Oil Country

  Tubular Goods from the Republic cfKorea, 84 Fed. Reg. 24,085 (Dep't Commerce May 24, 2019)

  (final results of antidumping duty admin. rev.; 2016-2017) at 25.        Moreover, because steel

  manufacturers comprise some of the country's largest electricity consumers, they "serve as

  principal beneficiaries of the Korean government's involvement in the market." Id. at 29.




                                                  19
         Case 1:22-cv-00070-MAB Document 31                 Filed 08/18/22      Page 28 of 33

Ct. No. 22-00070                                                           NON-CONFIDENTIAL VERSION



         KEPCO admits that the GOK:

         {E} ffectively controls us as the supervisor and regulator in a heavily regulated
         industry, and in effect also exercises the same degree of control over our generation
         subsidiaries through our sole share ownership over our generation subsidiaries as
         well as its statutory power of direct appointment of the governing bodies of our
         generation subsidiaries. In effect, we are acting as an intermediate holding company
         in avertical control structure involving the Government, us and our generation
         subsidiaries, where the Government holds the ultimate control over both us and our
         generation subsidiaries and exercises its control over our generation subsidiaries in
         part through us acting as the sole shareholder and the parent company.

  GOK NSA QR at Exhibit E-2, p. 171 (emphasis added).

         The GOK' scontrol over KEPCO permeates every aspect of their business. KEPCO admits

  that the GOK "exercises substantial control over our budgeting and other financial and operating

  decisions," id. at Exhibit E-2, p. 55, and supervises "the appointment of {KEPCO's} directors and

  our other senior management as well as approval of electricity tariff rate adjustments ...," id. at

  Exhibit E-2, p. 77.   To be clear, KEPCO and its subsidiaries do not set their own prices as

  independent companies. Although KEPCO and its subsidiaries may submit proposed rates charged

  for the electricity they sell, the GOK "makes the final decision." id. at Exhibit E-2, p. 55; see also

  id. at Exhibit E-2, p. 84 ("{O}ur business is heavily regulated by the Government, including with

  respect to the rates we charge to customers for the electricity we sell."). And KEPCO confirms

  that the GOK's control over its pricing limits its ability to pass on fuel and other cost increases to

  its customers, id. at Exhibit E-2, p. 5("Because the Government regulates the rates we charge for

  the electricity we sell to our customers, ...our ability to pass on fuel and other cost increases to

  our customers is limited. ... The Government may also set or adjust electricity tariff rates that

  may not be necessarily responsive to fuel price movements.").




                                                   20
         Case 1:22-cv-00070-MAB Document 31                Filed 08/18/22      Page 29 of 33

                            BUSINESS PROPRIETARY INFORMATION
Ct. No. 22-00070                     HAS BEEN DELETED                      NON-CONFIDENTIAL VERSION



                   2.    Commerce Nevertheless Accepted Costs Tainted by the GOK's Control
                         of the Electricity Market

         The GOK's control of the electricity "market" directly impacts the inputs used in

  Commerce's calculations. In its new subsidy allegation questionnaire response, the GOK reported

  KEPCO's cost data for the POR.       GOK NSA QR at Exhibit E-18.         This dataset was based on

  KEPCO's [

                                                                                                  ], as

  discussed above. See id. at Exhibit E-18 ([                              ]tab).

         The price that KEPCO pays to purchase electricity through the KPX consists of (i) the

  "system marginal price," which is intended to represent the variable cost of electricity generation;

  (ii) the "capacity price," which is intended to represent the fixed costs of generating electricity;

  and (iii) the "adjustment coefficient factor," which is theoretically tied to fuel costs but operates

  in practice as an ad hoc reallocation of revenue based on the financial performance of KEPCO and

  individual generators at the time that it is established. id. at 31. The values for each element of

  this formula are determined by the KPX via the Cost Evaluation Committee, and not by the

  generators themselves. Id. at Exhibit E-2. The cost data that the GOK provided thus does not

  reflect the actual costs of electricity generation and supply, and any presumption that it does is

  unsupported. Commerce nevertheless treated the GOK's reported data as representative of market

  principles and did not collect information regarding the actual cost of generation and supply from

  the generators themselves.

         In its final determination, Commerce defended its presumption that the GOK's reported

  cost data reflect market principles on the grounds that (1) "KEPCO is obligated to pay {the

  generator companies} for the total cost of generating electricity ...even if KEPCO is not

  profitable{,}" and (2) Commerce's "prior analysis of the prices paid by KEPCO through the KPX



                                                   21
         Case 1:22-cv-00070-MAB Document 31                 Filed 08/18/22      Page 30 of 33

                               BUSINESS PROPRIETARY INFORMATION
Ct. No. 22-00070                       HAS BEEN DELETED                      NON-CONFIDENTIAL VERSION



  has determined that they are inclusive of arate of return as well as the costs associated with

  generation."   Final Decision Memo at 24 (emphasis added).             But neither of these cursory

  explanations addresses, much less refutes, the overwhelming record evidence to the contrary.

  Because substantial evidence contradicts Commerce's assumption that the GOK's reported cost

  data reflect market principles, Commerce's determination that "some electricity prices were in line

  with market principles {,} "see id. at 22, should be remanded.

                   3.      The Government Prices to the Respondents Did Not Reflect the Cost of
                           Production Plus an Amount for Profit

         Even based on KEPCO's reported cost of supply, which is distorted by government

  interventions throughout the supply chain, the respondent's reported electricity prices "{did} not

  cover 'cost of production' plus a 'profitable return on the investment' ...." POSCO Remand

  Results at 30. As noted above, POSCO reported paying three different prices for electricity during

  the POR —an "off-peak" price, a"mid-peak" price, and an "on-peak" price. POSCO NSA QR at

  Exhibit NSA-2.        POSCO 's [

        ]KEPCO's reported cost of supply for the relevant tariff class.          For example, POSCO

  reported that its [                ]paid annual average off-peak and mid-peak prices under the

  [                                           ]electricity rate class of [                ]and [

            ], respectively.    POSCO NSA QR at Exhibit NSA-2.               These rates accounted for

  approximately [              ]of the [              ]total purchases during the POR. Id. KEPCO's

  reported annual cost of supply for this electricity rate class was [                   ]. GOK NSA

  QR at Exhibit E-18.

         POSCO thus reported paying electricity prices that are [

                                        ], meaning that KEPCO has structured its electricity prices to

  maintain subsidies to large industrial users like steel producers, while recouping losses on those



                                                    22
         Case 1:22-cv-00070-MAB Document 31                 Filed 08/18/22    Page 31 of 33

Ct. No. 22-00070                                                          NON-CONFIDENTIAL VERSION



  sales through higher prices to other users.   See, e.g., Petitioner's New Subsidy Allegation at 5

  (noting KEPCO's off-peak discounts offered to industrial customers).        Basing the analysis on

  KEPCO's total revenues on all sales to all customers effectively launders the benefit conferred by

  subsidized prices by offsetting them with revenues on sales at non-subsidized prices to other

  consumers.      See, e.g., Issues and Decision Memorandum accompanying Crystalline Silicon

  Photovoltaic Cells, Whether or Not Assembled Into Modules, from the Pecple's &public cf China,

  83 Fed. Reg. 34,828 (Dep't Commerce July 23, 2018) (final results of countervailing duty admin.

  rev.; 2015) at 45-46 ("In asubsidy analysis, abenefit is either conferred or not conferred, and a

  positive benefit from certain transactions cannot be masked by 'negative benefits' from other

  transactions.").

          The record undermines Commerce's determination that "there is no basis to conclude that"

  KEPCO was "subsidiz {ing} certain customers while recouping losses through charging higher

  prices to other companies ...." Final Decision Memo at 26. Specifically, aKorean National

  Assembly analysis applicable to the POR concluded that KEPCO provided more than KRW 10

  trillion in benefits to large companies through the provision of below-cost electricity between 2014

  and 2019, with POSCO among the top-three beneficiaries. See Nucor's May 11, 2021 Comments

  at Exhibit 5.      The report explains that these large companies consumed the majority of their

  electricity during off-peak hours, when the average price is less than half of average on-peak

  prices. Id.   A Korean government think tank, the Korea Energy Economics Institute, likewise

  concluded in a2019 study that off-peak industrial electricity prices are up to 30 percent below

  KEPCO's cost of supply. Id. at Exhibit 6. This confirms that KEPCO subsidizes large industrial

  users that can operate primarily during off-peak hours, while recouping losses on those sales to

  users that must operate primarily during on-peak hours.




                                                   23
         Case 1:22-cv-00070-MAB Document 31               Filed 08/18/22    Page 32 of 33

Ct. No. 22-00070                                                        NON-CONFIDENTIAL VERSION



         For all of these reasons, Commerce's determination that the prices charged to the

  respondents were consistent with market principles is unsupported by record and should be

  remanded for reconsideration.


  VI.    CONCLUSION

         Because Commerce's Final Results are in violation of Commerce's statutory obligations

  and practice, the Final Results are unsupported by substantial evidence and otherwise not in

  accordance with law.     Nucor thus respectfully requests this Court remand the final results to

  Commerce with instructions to correct the errors in calculation.


                                                       /s/ Alan H. Price
                                                       Alan H. Price, Esq.
                                                       Christopher B. Weld, Esq.
                                                       Adam M. Teslik, Esq.
                                                       Paul A. Devamithran, Esq.

                                                       W ILEY REIN LLP
                                                       2050 M Street, NW
                                                       Washington, DC 20036
                                                       (202) 719-7000

                                                       Counsel for Plaint4,f Nucor Cotporation

  Dated: August 17, 2022




                                                  24
      Case 1:22-cv-00070-MAB Document 31               Filed 08/18/22    Page 33 of 33




                             CERTIFICATE OF COMPLIANCE


       Pursuant to Chamber Procedure 2(B)(1), the undersigned certifies that this brief complies


with the word limitation requirement. The word count for Nucor Corporation's Memorandum in


Support of Rule 56.2 Motion for Judgment on the Agency Record, as computed by Wiley Rein


LLP's word processing system (Microsoft Word 2019), is 7389 words.



                                       /s/ Alan H. Price
                                    (Signature of Attorney)


                                        Alan H. Price
                                      (Name of Attorney)


                                      Nucor Corporation
                                      (Representative Of)


                                       August 17, 2022
                                           (Date)
